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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                 AT LEXINGTON

                                                       CRIMINAL NO. 12-79-KKC-JGW
UNITED STATES OF AMERICA,
      Plaintiff,                                        CIVIL NO. 15-363-KKC-JGW



                                                       MEMORANDUM OPINION AND
V.
                                                              ORDER

XAVIER GREEN,
      Defendant.



                                         *** *** ***

       This matter is before the Court on United States Magistrate Judge Gregory J.

Wehrman’s Report and Recommendation (DE 1165) filed March 16, 2016, and Defendant’s

Objections filed April 4, 2016. (DE 1170).

       In December 2012, Defendant Xavier Green pleaded guilty to conspiring to

distribute cocaine and to distributing cocaine. (DE 344.) Section four of the plea agreement

noted Defendant’s admission to a prior felony drug conviction, and his understanding that,

consequently, the statutory minimum sentence for the conspiracy charge was ten years.

(DE 344 at 4.) The plea agreement also set forth the parties belief that Defendant qualified

as a career offender under the United States Sentencing Guidelines (“U.S.S.G.”). (DE 344 at

5.) On December 17, 2013, this Court sentenced Defendant to the statutory minimum

sentence of 120 months imprisonment. (DE 852 at 16.) The Court exercised its discretion to

vary from Defendant’s then-undisputed guideline range of 262–327 months imprisonment.

(DE 852 at 3.)
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       Defendant now moves for postconviction relief under 28 U.S.C. § 2255 based on the

Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015). The Johnson

Court held that the residual clause of the Armed Career Criminal Act (“ACCA”) is

unconstitutionally vague. Defendant asserts that Johnson likewise invalidates the textually

identical U.S.S.G. § 4B1.2(a) career offender residual clause, which was used in calculating

Defendant’s guideline range. Defendant contends (1) that his prior Kentucky wanton

endangerment conviction only qualified as a crime of violence under the residual clause, (2)

that because this clause is invalid he no longer qualifies as a career offender, (3) and that

“imposition of the career offender status now subjects him to a punishment that the law

cannot impose on him.” (DE 1132-1.) In response, the United States asserts that Johnson is

not retroactively applicable to collateral attacks on a conviction.

       Judge Wehrman noted that the retroactive applicability of Johnson in postconviction

challenges to a U.S.S.G. career-offender designation remains an unsettled question. (DE

1165 at 2–3.) However, the recommendation found, and this Court agrees, that deciding

that question is unnecessary under the facts presented because Defendant would not be

entitled to relief even if Johnson were applicable. (DE 1165 at 5.) Judge Wehrman aptly

summarized the basis for this finding:

              It is unquestioned that defendant has a prior felony drug
              offense. The minimum statutory sentence for someone with a
              prior felony drug conviction who is guilty of being part of a
              conspiracy to distribute 28 grams or more of cocaine base is ten
              years’ imprisonment. See 21 U.S.C. §846 (“Any person who
              attempts or conspires to commit any offense defined in this
              subchapter shall be subject to the same penalties as those
              prescribed for the offense, the commission of which was the
              object of the attempt or conspiracy.”); 21 U.S.C. §841(b)(1)(B)
              (“In the case of a violation of subsection (a) of this section
              involving . . . (iii) 28 grams or more of a mixture or substance
              described in clause (ii) which contains cocaine base . . . such
              person shall be sentenced to a term of imprisonment which

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              may not be less than 5 years and not more than 40 years . . . . If
              any person commits such a violation after a prior conviction for
              a felony drug offense has become final, such person shall be
              sentenced to a term of imprisonment which may not be less than
              10 years and not more than life imprisonment . . . .”)[.]
              Defendant received the statutory minimum 120 month
              sentence.

(DE 1165 at 5–6 (emphasis in original).) Defendant filed objections to the Report and

Recommendation on April 4, 2016. (DE 79.)

       This Court must conduct a de novo review of “those portions of the report or

specified proposed findings or recommendations to which objection is made.” 28 U.S.C §

636(b). However, Defendant’s objections only reassert his contentions that Johnson applies

retroactively and that he has, thus, been subjected to a punishment that the law cannot

impose upon him. (DE 1170 at 3.) The former contention addresses an issue that, as noted

above, is ultimately irrelevant to Defendant’s entitlement to relief and the latter argument

is, thus, fatally undermined.

       To reiterate, whether or not Defendant’s guideline calculation was invalid,

Defendant was simply not sentenced based on those guidelines. This is not a case where

proof that a guideline range was mistakenly deemed applicable would “demonstrate[ ] a

reasonable probability of a different outcome.” Cf. Molina-Martinez v. United States, 578 U.

S. ___, ___ (2016) (slip op., at 11). Defendant’s 120 month sentence was based on the

applicable statutory minimum resulting from his prior drug conviction—120 months—not

the guideline range resulting from his career offender status—262–327 months. Cf. id.

(“The record in a case may show . . . that the district court thought the sentence it chose

was appropriate irrespective of the Guidelines range.”).




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Accordingly, IT IS ORDERED that:

      1. The Magistrate Judge’s Report and Recommendation (DE 1165) is ADOPTED as

      and for the opinion of this Court;

      2. Xavier Green’s Motion to Vacate (DE 1132) is DENIED; and

      3. Judgment shall be entered contemporaneously with this Order.

      Dated April 27, 2016.




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